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                             13
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                             14   and Debtors in Possession
                             15                           UNITED STATES BANKRUPTCY COURT
                             16                           NORTHERN DISTRICT OF CALIFORNIA
                                                               SAN FRANCISCO DIVISION
                             17
                                  In re:                            Case Nos.     19 - _______ (___)
                             18                                                   19 - _______ (___)
                                  PG&E CORPORATION,
                             19                                     Chapter 11
                                                            Debtor.
                             20                                     MOTION OF DEBTORS PURSUANT TO 11 U.S.C.
                                  Tax I.D. No. XX-XXXXXXX           §§ 105(a), 363(b), AND 507 AND FED. R. BANKR. P.
                             21                                     6003 AND 6004 FOR INTERIM AND FINAL
                                                                    AUTHORITY TO (I) (A) CONTINUE EXISTING CASH
                             22                                     MANAGEMENT SYSTEM, (B) HONOR CERTAIN
                                                                    PREPETITION OBLIGATIONS RELATED TO THE
                             23    In re:                           USE THEREOF, (C) CONTINUE INTERCOMPANY
                                                                    ARRANGEMENTS, (D) CONTINUE TO HONOR
                             24    PACIFIC GAS AND ELECTRIC OBLIGATIONS RELATED TO JOINT
                                   COMPANY,                         INFRASTRUCTURE PROJECTS, AND (E) MAINTAIN
                             25                                     EXISTING BANK ACCOUNTS AND BUSINESS
                                                            Debtor. FORMS; AND (II) WAIVING THE REQUIREMENTS
                             26                                     OF 11 U.S.C. § 345(b)
                             27   Tax I.D. No. XX-XXXXXXX
                                                                    Date:
                                                                    Time:
                             28                                     Place:

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                              1          PG&E Corporation (“PG&E Corp.”) and Pacific Gas and Electric Company (the “Utility”), as

                              2   debtors and debtors in possession (collectively, “PG&E” or the “Debtors”) in the above-captioned

                              3   chapter 11 cases (the “Chapter 11 Cases”), hereby submit this Motion (the “Motion”), pursuant to

                              4   sections 105(a), 345(b), 363(b), 363(c), and 364(a) of title 11 of the United States Code

                              5   (the “Bankruptcy Code”) and Rules 6003 and 6004 of the Federal Rules of Bankruptcy Procedure

                              6   (the “Bankruptcy Rules”), requesting interim and final authority, in the ordinary course of business

                              7   and consistent with the Debtors’ prepetition practices, to (i)(a) continue operating their existing cash

                              8   management system (the “Cash Management System”), as described herein, including the continued

                              9   maintenance of existing bank accounts at the Debtors’ banks (the “Banks”), (b) honor certain

                             10   prepetition obligations related to the Cash Management System, (c) continue certain intercompany

                             11   arrangements among the Debtors and certain non-Debtor affiliates and subsidiaries (the “Non-Debtor

                             12   Affiliates and Subsidiaries”), (d) continue to honor all obligations with respect to certain Joint
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                             13   Infrastructure Projects (as defined below), and (e) maintain existing business forms; and (ii) waive the
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                             14   requirements of section 345(b) of the Bankruptcy Code to the extent they apply to any of the Bank

                             15   Accounts (as defined below).

                             16          In furtherance of the foregoing, the Debtors request that the Court authorize, but not direct, the

                             17   Banks to receive, process, honor, and pay all checks presented for payment and electronic payment

                             18   requests relating to the foregoing to the extent the Debtors have sufficient funds standing to their credit

                             19   with such Bank, whether such checks were presented or electronic request were submitted before or

                             20   after the Petition Date (as defined below), and that all such Banks be authorized to rely on the Debtors’

                             21   designation of any particular check or electronic payment request as appropriate pursuant to this Motion

                             22   without any duty of further inquiry and without liability for following the Debtors’ instructions. A

                             23   proposed form of order granting the relief requested herein on an interim basis is annexed hereto as

                             24   Exhibit A (the “Proposed Interim Order”).

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                              1                         MEMORANDUM OF POINTS AND AUTHORITIES

                              2   I.     JURISDICTION

                              3          The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157 and 1334, the

                              4   Order Referring Bankruptcy Cases and Proceedings to Bankruptcy Judges, General Order 24 (N.D.

                              5   Cal.), and Rule 5011-1(a) of the Bankruptcy Local Rules for the United States District Court for the

                              6   Northern District of California (the “Bankruptcy Local Rules”). This is a core proceeding pursuant

                              7   to 28 U.S.C. § 157(b). Venue is proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                              8   II.    BACKGROUND

                              9          On the date hereof (the “Petition Date”), the Debtors commenced with the Court voluntary

                             10   cases under chapter 11 of the Bankruptcy Code. The Debtors continue to operate their businesses and

                             11   manage their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the

                             12   Bankruptcy Code. No trustee, examiner, or statutory committee has been appointed in either of the
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                             13   Chapter 11 Cases.
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                             14          Additional information regarding the circumstances leading to the commencement of the

                             15   Chapter 11 Cases and information regarding the Debtors’ businesses and capital structure is set forth in

                             16   the Declaration of Jason P. Wells, Senior Vice President and Chief Financial Officer of PG&E Corp.,

                             17   filed contemporaneously herewith in support of the Debtors’ chapter 11 petitions and related first day

                             18   relief (the “Wells Declaration”).

                             19   III.   THE CASH MANAGEMENT SYSTEM AND BANK ACCOUNTS

                             20          In the ordinary course of business, the Debtors utilize their Cash Management System, which is

                             21   an integrated, centralized system designed to collect, transfer, and disburse funds generated by their

                             22   electricity and natural gas operations. The Cash Management System has several main components:

                             23   (i) cash collection, including the collection of payments made to the Debtors from revenue generated

                             24   in the ordinary course through the sale and delivery of electricity and natural gas to customers;

                             25   (ii) relatively minimal cash transfers among the Debtors and certain Non-Debtor Affiliates and

                             26   Subsidiaries; and (iii) cash disbursements that fund the Debtors’ business operations and related

                             27   obligations.   Although the Utility and PG&E Corp. each maintain separate systems, the Cash

                             28   Management System is an integrated system. Pursuant to that certain Restated Continuing Services

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                              1   Agreement, dated October 15, 1999, between the Utility and PG&E Corp, (the “PG&E Corp. CSA”),

                              2   the Utility operates the cash management system of PG&E Corp. and all transfers between accounts

                              3   held by PG&E Corp. and the Utility are made pursuant to wire transfers in accordance with the PG&E

                              4   Corp. CSA. It is critical that the Cash Management System remains intact during these Chapter 11

                              5   Cases to ensure the seamless continuation of transactions and the uninterrupted supply of power and

                              6   electricity to the Utility’s customers.

                              7          The Cash Management System facilitates cash monitoring, forecasting, and reporting and

                              8   enables the Debtors to maintain control over the administration of the Bank Accounts located at the

                              9   Banks, including, but not limited to, the accounts listed on Schedule 1 annexed to the Proposed Interim

                             10   Order. The Debtors maintain one-hundred eight (108) bank accounts (each, a “Bank Account” and,

                             11   collectively, the “Bank Accounts”) at various Banks, of which thirty (30) are actively used in the Cash

                             12   Management System (such accounts, the “Primary Bank Accounts”). Of the Primary Bank Accounts,
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                             13   sixteen (16) accounts are maintained at The Bank of New York Mellon (“BNYM”), six (6) accounts
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                             14   are maintained at Bank of America, N.A. (“BoAML”), four (4) accounts are maintained at Citibank,

                             15   N.A. (“Citi”), one (1) account is maintained at Royal Bank of Canada (“RBC”), two (2) accounts are

                             16   maintained at Union Bank of California (“Union Bank”), and one (1) account is maintained at U.S.

                             17   Bank, N.A (“U.S. Bank”). Twenty-one (21) of the Primary Bank Accounts are maintained at Banks

                             18   designated as authorized depositories by the Office of the United States Trustee for Region 17 (the

                             19   “U.S. Trustee”) pursuant to the U.S. Trustee’s Guidelines (the “UST Guidelines”).

                             20          The remaining seventy-eight (78) Bank Accounts are not utilized in the day-to-day flow of

                             21   funds throughout the Cash Management System and are comprised mainly of specialized accounts,

                             22   including: (a) forty-nine (49) tax-exempt bond accounts, maintained in connection with each of the

                             23   Debtors’ tax-exempt debt issuances, held at Deutsche Bank Trust Company Americas (the “Deutsche

                             24   Bank Bond Accounts”), (b) six (6) escrow accounts maintained in connection with ongoing

                             25   partnerships with third-parties held at U.S. Bank N.A. Global Corporate Trust Services (the “U.S Bank

                             26   Escrow Accounts”), (c) three (3) trust accounts maintained in connection with retirement benefits –

                             27   two (2) held at Wells Fargo Bank N.A. (Acct No. XX5300 and XX5400) and one (1) at Fidelity

                             28   Management Trust Company (Acct No. XX0137) (the “Retiree Benefit Trust Accounts”), (d) one

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                              1   (1) account to hold certain reserve funds for employees who work with asbestos in the course of their

                              2   employment required under the Asbestos Hazard Emergency Response Act held at BoAML (Acct No.

                              3   XX2988) (the “Asbestos Medical Reserve Account”), (e) two (2) accounts for contributions to

                              4   political action committees funded from voluntary deductions from employee payroll held at Bank of

                              5   Marin (Acct Nos. XX0132 and XX0140) (the “PAC Accounts”), (f) two (2) legacy accounts

                              6   established prior to the transition to payroll at BoAML (Acct No. XX7115) for employees to cash

                              7   checks held at BNYM (Acct No. XX4017) and at BoAML (Acct No. XX1675) (the “Legacy Payroll

                              8   Accounts”), (g) one (1) account that was used to hold funds from PG&E’s Corp.’s Commercial Paper

                              9   Program held at Citi (Acct No. XX9167) (the “CP Account” and together with the Deutsche Bank

                             10   Bond Accounts, the U.S Bank Escrow Accounts, the Retiree Benefit Trust Accounts, the Asbestos

                             11   Medical Reserve Account, the PAC Accounts, and the Legacy Payroll Accounts, the “Specialty

                             12   Accounts”), and (h) fourteen (14) dormant accounts with no activity or de minimus balances (the
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                             13   “Dormant Accounts”).
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                             14          The Debtors maintain robust controls relating to the Cash Management System. The Cash

                             15   Management System is overseen by personnel working in the Banking and Money Management

                             16   (“B&MM”) division of the Utility’s treasury department (the “Treasury Department”). B&MM

                             17   manages all aspects of the Cash Management System, providing services that include cash positioning,

                             18   cash concentration, wire transfers, automated clearing house (“ACH”) transfers, tax payments, and the

                             19   issuance of short-term debt and purchase or redemption of investments, as well as managing bank

                             20   accounts for certain Non-Debtor Affiliates and Subsidiaries. On a daily basis, B&MM prepares a cash

                             21   summary that reflects the cash position after incoming and outgoing payments (via cash, wire transfer,

                             22   ACH, or check), including short-term debt and short-term investment purchases or redemptions.

                             23   Although certain recurring electronic payments are made automatically, disbursements by wire transfer

                             24   require dual approval, and disbursements by check are reconciled before they clear. In preparing the

                             25   daily cash summary, B&MM conducts a review of cash account balances, confirms that all manual

                             26   wire transfers have been properly authorized, and determines whether all investments are in line with

                             27   the Debtors’ short-term investment policy (the “Short-Term Investment Policy”).            Under the

                             28   oversight of each of the Debtor’s Controller, corporate accounting reconciles all Bank Account

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                              1   balances against the Debtors’ books and records on a monthly basis. Various levels of authorizations

                              2   are required for the release of disbursements, which are determined by the size and type of the

                              3   disbursement.

                              4          As explained in further detail below, the Cash Management System is generally comprised of

                              5   four (4) different types of accounts: (a) collection accounts into which cash and other receivables

                              6   generated from the Debtors’ operations are deposited (collectively, the “Collection Accounts”), (b)

                              7   concentration accounts into which cash is automatically swept from the various Collection Accounts

                              8   on a daily basis (collectively, the “Concentration Accounts”),         (c) disbursement accounts for

                              9   designated disbursements (collectively, the “Disbursement Accounts”), and (d) the Specialty

                             10   Accounts. An average of approximately $81.6 million in receipts and $86.0 million in disbursements

                             11   flows through the Cash Management System per banking day. A diagram illustrating the general

                             12   movement of cash through the Cash Management System is attached hereto as Exhibit B.
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                             13          Given the complexity of the Debtors’ operations and the volume of transactions processed
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                             14   through the Cash Management System each day, maintaining the Cash Management System in its

                             15   current state is crucial to the Debtors’ continued operations. Any disruption to the Cash Management

                             16   System would unnecessarily and significantly disrupt the Debtors’ operations, which may result in

                             17   power outages or other service disruptions to the Debtors’ customers, and may impede the successful

                             18   administration of these Chapter 11 Cases.

                             19         A.        Collection Accounts

                             20                   1.    Utility Collection Accounts

                             21          As part of its daily operations, the Utility collects cash, checks, wire transfers, ACH payments,

                             22   and credit card and debit card payments from customers and certain third parties. As described below,

                             23   these funding sources flow into the Utility Master Concentration Account (as defined herein) through

                             24   nine (9) depository accounts (the “Utility Depository Accounts”). When the Utility is in receipt of

                             25   proceeds from non-recurring funding sources such as tax refunds, debt issuances, and rebates issued

                             26   by regional service operators and/or independent system operators, such proceeds are deposited

                             27   directly into the Utility Master Concentration Account (as defined below).

                             28

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                              1                           a)      Customer Depository Accounts

                              2            The Utility maintains five (5) Utility Depository Accounts (each a “Utility Customer

                              3   Depository Account”) that process customer payments.              Two (2) Utility Customer Depository

                              4   Accounts (Acct Nos. XX5477 and XX7822) are held at BNYM, one (1) account (Acct No. XX1958)

                              5   is held at Citi, one (1) account (Acct No. XX0817) is held at BoAML, and one (1) account (Acct No.

                              6   XX5581) is held at Union Bank. The BNYM, BoAML, and Citi Utility Customer Depository Accounts

                              7   only accept electronic payments posted through online and mobile payment channels and customer

                              8   ACH debits. The Union Bank Utility Customer Depository Account collects cash and check payments

                              9   that are either mailed to the Utility or made directly at the Utility’s local offices. All of the Utility

                             10   Customer Depository Accounts, except for the Union Bank Account, are zero balance accounts,

                             11   meaning they do not carry a cash balance at the end of each business day. The funds in the Citi and

                             12   BoAML Utility Customer Depository Accounts are swept into the Citi Utility Concentration Account
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                             13   and BoaML Utility Concentration Accounts (each as defined herein), respectively, on a daily basis,
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                             14   where the funds ultimately flow into the Utility Master Concentration Account. The BNYM Utility

                             15   Customer Depository Accounts are swept into the Utility Master Concentration Account on a daily

                             16   basis.

                             17                           b)      Utility Campground Collection Accounts

                             18            The Utility also maintains two (2) Utility Depository Accounts (the “Utility Campground

                             19   Depository Accounts”) that process payments from customers that use campgrounds owned by the

                             20   Utility. One (1) Utility Campground Depository Account is held at U.S. Bank (Acct No. XX2311) and

                             21   one (1) Utility Campground Depository Account is held at BoAML (Acct No. XX2302).

                             22                           c)      Non-Energy Collection Account

                             23            The Utility also maintains one (1) Utility Depository Account to collect funds from certain non-

                             24   energy related revenue sources held at Citi (Acct No. XX2901).

                             25                           d)      Outside Collections Accounts

                             26            In the ordinary course of business, the Utility contracts with third-parties to collect on customer

                             27   accounts that have fallen into delinquency. The proceeds of such activities are deposited into a Utility

                             28   Customer Depository Account held at Citi (Acct No. XXX2316) (the “Utility Outside Collection

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                              1    Account”). The Utility Outside Collection Account is a zero balance account and is swept into the

                              2    Citi Utility Concentration Account on a daily basis.

                              3                  2.      PG&E Corp. Collection Accounts

                              4           As PG&E Corp.’s primary asset is its equity interest in the Utility, it does not maintain any

                              5    third-party collection accounts.

                              6           B.     Concentration Accounts1

                              7                  1.      Utility Concentration Accounts

                              8           The Utility maintains three (3) accounts where it concentrates and collects cash from its various

                              9    Depository Accounts (collectively, the “Utility Concentration Accounts”): (a) one (1) primary

                             10    concentration account with BNYM (Acct No. XX9994) (the “Utility Master Concentration

                             11    Account”); (b) one (1) customer deposit concentration account with BoAML (Acct No. XX3212) (the

                             12    “BoAML Utility Concentration Account”); and (c) one (1) customer deposit concentration account
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                             13    with Citi (Acct No. XX0901) (the “Citi Utility Concentration Account”). The Utility funds its
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                             14    business operations and related expenditures from the revenues and funds that flow through the Utility

                             15    Concentration Accounts, including payments of principal and interest on account of the Utility’s

                             16    prepetition debt and intercompany payments made to StanPac (as defined below), Gill Ranch (as

                             17    defined below), and PG&E Corp. (pursuant to the PG&E Corp. CSA).                   The Utility Master

                             18    Concentration Account serves as the Utility’s main centralized operating account into which receipts

                             19    and customer payments are ultimately deposited from the Utility Customer Depository Accounts and

                             20    from which disbursements are made throughout the Cash Management System as necessary.

                             21    Historically, the proceeds of financings and draws on the Utility’s $3 billion prepetition unsecured

                             22    revolving credit facility were deposited directly into the Utility Master Concentration Account. As of

                             23    the date hereof, such facility had approximately $35 million of undrawn capacity. Additionally, from

                             24    time to time, excess funds in the Utility Master Concentration Account at the close of market may be

                             25    invested by B&MM on an overnight basis until the following business day, in accordance with the

                             26    1
                                   Prior to the Petition Date, the Utility issued commercial paper in the ordinary course of business to
                             27 cover short-term liquidity needs (the “Commercial Paper Program”). Citi served as the issuing and
                                  payment agent with respect to issuances and redemptions of commercial paper under the Commercial
                             28 Paper Program. The Commercial Paper Program is not currently active and the Debtors are not
                                  currently seeking relief to continue the Commercial Paper Program at this time.
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                              1   Debtors’ Short-Term Investment Policy, which is discussed in further detail below.

                              2          Funds in the BoAML Utility Customer Depository Account are automatically swept into the

                              3   BoAML Utility Concentration Account on a daily basis. The funds in each of the Citi Utility Customer

                              4   Depository Account and the Citi Utility Outside Collections Depository Account are automatically

                              5   swept into the Citi Utility Concentration Account on a daily basis. Funds in the BoAML Utility

                              6   Concentration Account and Citi Utility Concentration Account are manually drawn down to the Utility

                              7   Master Concentration Account on a daily basis. The Utility Campground Depository Accounts are

                              8   manual swept into the Utility Master Concentration Account on a periodic basis.

                              9                 2.      PG&E Corp. Concentration Accounts

                             10          PG&E Corp. concentrates and collects its cash in one primary account with BNYM (Acct No.

                             11   XX9023) (the “PG&E Corp. Master Concentration Account”). PG&E Corp. funds its business

                             12   operations and related expenditures from the revenues and funds that flow through the PG&E Corp.
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                             13   Master Concentration Account, including payments of principal and interest on account of PG&E’s
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                             14   prepetition debt and intercompany payments made to the Utility pursuant to the PG&E Corp. CSA.

                             15   The PG&E Corp. Master Concentration Account serves as PG&E Corp.’s main centralized operating

                             16   account into which funds are ultimately deposited from transfers from the Utility pursuant to the PG&E

                             17   Corp. CSA and from which disbursements are made throughout the Cash Management System as

                             18   necessary.

                             19          Historically, the proceeds of financings and draws on PG&E Corp.’s $300 million prepetition

                             20   unsecured revolving credit facility were deposited directly into the PG&E Corp. Master Concentration

                             21   Account. As of the date hereof, the revolving credit facility is fully drawn. Additionally, from time to

                             22   time, excess funds in the PG&E Corp. Master Concentration Account at the close of market may be

                             23   invested by B&MM on an overnight basis until the following business day, in accordance with the

                             24   Debtors’ Short-Term Investment Policy, which is discussed in further detail below.

                             25          C.     Disbursement Accounts

                             26                 1.      Utility Disbursement Accounts

                             27          The Utility uses the funds in the Utility Master Concentration Account to fund its ongoing

                             28   operations through nine (9) disbursement accounts (collectively, the “Utility Disbursement

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                              1   Accounts”). All of the Utility Disbursement Accounts are zero balance accounts. On a daily basis,

                              2   the Utility projects its disbursement obligations and funds the Utility Disbursement Accounts

                              3   accordingly. The following is a brief summary of the various Utility Disbursement Accounts.

                              4                Vendor Disbursement Account. Two (2) disbursement accounts at BNYM
                                                (Acct Nos. XX9978 and XX9990) are designated to fund nearly all operating
                              5                 expenses and capital expenditures related to the Utility’s business operations,
                                                including all third party vendor, supplier payments and customer payments as well
                              6                 as employee expense reimbursements.

                              7                BoAML Payroll Disbursement Accounts. One (1) disbursement account at
                                                BoAML (Acct No. XX7115) is used to fund employee payroll, which is funded
                              8                 from the BoAML Concentration Account.
                                               Disability Disbursement Account. The Utility maintains an account at BNYM
                              9                 (Acct No. XX8544) dedicated to making distributions to employee participants in
                                                the Utility’s short-term disability plan.
                             10
                                               Customer Refund and Rebate Accounts. The Utility maintains two (2)
                             11                 additional disbursement accounts at BNYM (Acct Nos. XX3044 and XX3532)
                                                which distribute refunds, rebates, and reimbursements to the Utility’s customers.
                             12
                                               RBC Currency Exchange Account. The Utility maintains a disbursement
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                                                account with RBC (Acct No. XX0446) to facilitate purchases of natural gas from
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                             13
                                                Canadian entities that only accept payment in Canadian dollars.
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                             14                Gill Ranch Operating Account. As discussed in more detail below, the Utility
                                                maintains an operating account for the Gill Ranch natural gas storage facility at
                             15                 BNYM (Acct No. XX4122).
                             16                Land Drafts Account. The Utility maintains a disbursement account with
                                                BNYM (Acct No. XX0143) to issue checks in connection with health care and
                             17                 injury claims incurred by individuals and with the Utility’s land management
                                                activities.
                             18
                                                2.     PG&E Corp. Disbursement Accounts
                             19
                                         PG&E Corp. uses the funds in the PG&E Corp. Master Concentration Account to fund its
                             20
                                  ongoing operations through five (5) disbursement accounts (collectively, the “PG&E Corp.
                             21
                                  Disbursement Accounts”). All of the PG&E Corp. Disbursement Accounts are zero balance accounts.
                             22
                                  On a daily basis, PG&E Corp. projects its disbursement obligations and funds the PG&E Corp.
                             23
                                  Disbursement Accounts accordingly. The following is a brief summary of the various PG&E Corp.
                             24
                                  Disbursement Accounts.
                             25
                                               Vendor Disbursement Account. One (1) disbursement account at BNYM (Acct
                             26                 No. XX4558) is designated to fund nearly all operating expenses and capital
                                                expenditures related to PG&E Corp’s operations, including all third-party vendor
                             27                 and supplier payments.
                             28                Payroll Disbursement Accounts. One (1) disbursement account at BNYM
                                                (Account No. XX9946) (the “PG&E Corp. Payroll Funding Account”) and two
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                              1                  (2) payroll disbursement accounts at BoAML (Acct Nos. XX7981 and XX7107),
                                                 with one utilized for checks and the other for direct deposit payments, each of
                              2                  such accounts is funded from the PG&E Corp. Payroll Funding Account.

                              3                 Union Bank Payroll Account. PG&E Corp. maintains one (1) payroll account
                                                 at Union Bank of California (Acct No. XX9557) to comply with certain state law
                              4                  requirements.
                                        D.       Intercompany Transactions
                              5
                                         In the ordinary course of business, the Debtors maintain business relationships among
                              6
                                  themselves and with the Non-Debtor Affiliates and Subsidiaries, which result in intercompany
                              7
                                  receivables and payables (the “Intercompany Transactions”).              The various categories of
                              8
                                  Intercompany Transactions are summarized in further detail below. The Debtors maintain records of
                              9
                                  all transfers and, therefore, can ascertain, trace, and account for all Intercompany Transactions, and
                             10
                                  will continue to do so during these Chapter 11 Cases. If the Intercompany Transactions were to be
                             11
                                  discontinued, the Cash Management System and related administrative controls would be disrupted to
                             12
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                                  the detriment of the Debtors and all stakeholders. Accordingly, the Debtors are seeking authority to
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                             13
                                  continue the Intercompany Transactions and make any prepetition payments related thereto.
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                             14
                                                 1.     The PG&E Corp. CSA
                             15
                                         The Utility and PG&E Corp. are parties to the PG&E Corp. CSA. Under the terms of the PG&E
                             16
                                  Corp. CSA, PG&E Corp. provides certain corporate services to the Utility, including, among other
                             17
                                  things, management staffing, strategic planning, and investor relations support (the “PG&E Corp.
                             18
                                  Affiliate Services”). From time to time, PG&E Corp. also contributed certain equity securities to the
                             19
                                  Utility, which the Utility distributed to its employees in accordance with its share-based employee
                             20
                                  incentive plans (the “PG&E Corp. Equity Contributions”). The Utility and PG&E Corp. also share
                             21
                                  certain corporate services and allocate the relative costs of such services and expenses between each
                             22
                                  other, including, without limitation, accounting and audit functions, money management and
                             23
                                  investment services, payroll administration, legal, governance, and public relations (the “Shared
                             24
                                  Services”). Furthermore, the Utility funds certain of PG&E Corp.’s operating expenses, including,
                             25
                                  among other things, the purchase of insurance (the “Corp. Expenses”). The intercompany obligations
                             26
                                  and related transfers that arise under the PG&E Corp. CSA are governed by California Public Utility
                             27
                                  Commission (the “CPUC”) Decisions 96-11-017 and 97-12-088, as well as certain other CPUC-
                             28

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                              1   approved tariffs, and are generally subject to CPUC oversight. PG&E Corp. invoices the Utility on a

                              2   monthly basis for reimbursement of the PG&E Corp. Affiliate Services, the Utility’s allocation of the

                              3   Shared Services, including the costs incurred by PG&E Corp. for the purchase of any associated goods

                              4   during the preceding month, and, if applicable, the value of any PG&E Corp. Equity Contributions

                              5   ultimately distributed to the Utility’s employees (collectively, the “Corp. CSA Claims”). Likewise,

                              6   the Utility invoices PG&E Corp. on a monthly basis for reimbursement of the costs of Shared Services

                              7   allocated to PG&E Corp., including the costs of any associated goods, as well as PG&E Corp.’s

                              8   allocated share of the Corp. Expenses that were incurred during the preceding month (collectively, the

                              9   “Utility CSA Claims”). Corp. CSA Claims are paid via wire transfer directly out of the Utility

                             10   Disbursement Account XX9978 (rather than book entry) and must be paid within 30 days of receipt of

                             11   invoice. Similarly, Utility CSA Claims are paid via wire transfer directly out of the PG&E Corp.

                             12   Disbursement Account XX4558 (rather than book entry) and must be paid within 30 days of receipt of
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                             13   invoice. During the 12-month period prior to the Petition Date, the monthly average of Corp. CSA
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                             14   Claims that the Utility owed to PG&E Corp. was approximately $13.8 million, and that PG&E Corp.

                             15   owed to the Utility was approximately $1.8 million.

                             16                 2.     Non-Debtor Affiliates’ and Subsidiaries’ Continuing Services Agreements

                             17          The Utility is party to shared services arrangements with certain Non-Debtor Affiliates and

                             18   Subsidiaries, including the following agreements: (a) that certain Continuing Services Agreement

                             19   between the Utility and PG&E Corporation Support Services, Inc., dated Oct. 15, 1999, (b) that certain

                             20   Continuing Services Agreement between the Utility and Pacific Energy Capital IV, LLC, dated July

                             21   27, 2010, (c) that certain Continuing Services Agreement between the Utility and PCG Capital, Inc.,

                             22   dated March 1, 2011, (d) that certain Continuing Services Agreement between the Utility and PG&E

                             23   Corporation Support Services II, Inc., dated April 16, 2007, (e) that certain Continuing Services

                             24   Agreement between the Utility and Certain Subsidiaries, including Eureka Energy Company, Natural

                             25   Gas Corporation of California, and Pacific Energy Fuels Company, dated March 28, 2008, and (f) that

                             26   certain Continuing Services Agreement between the Utility and Eureka Energy Company, dated

                             27   February 23, 2009 (collectively, the “Utility Non-Debtor CSAs”).

                             28          PG&E Corp. has also entered into shared services arrangements with certain Non-Debtor

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                              1   Affiliates and Subsidiaries, including the following agreements: (a) that certain Continuing Services

                              2   Agreement between PG&E Corp. and PG&E Corporation Support Services, Inc., dated Oct. 13, 1999

                              3   and (b) that certain Continuing Services Agreement between PG&E Corp. and PG&E Corporation

                              4   Support Services II, Inc., dated April 13, 2007 (collectively, the “PG&E Corp. Non-Debtor CSAs”

                              5   and, together with the Utility Non-Debtor CSAs, the “Non-Debtor CSAs”).

                              6          The Non-Debtor CSAs provide for the exchange of certain corporate services between the

                              7   Debtors and the applicable Non-Debtor Affiliates and Subsidiaries (the “Non-Debtor Shared

                              8   Services”). These Non-Debtor Shared Services are relatively de minimis and include, but are not

                              9   limited to, joint purchasing of third-party services and goods as well as shared services related to joint

                             10   corporate oversight, governance, support systems and personnel, to the extent such shared services

                             11   conform to requirements of CPUC Decision 97-12-088. On an annual basis, the net cash impact on

                             12   the Debtors with respect to amounts owed by the Debtors to the Non-Debtor Affiliates and Subsidiaries
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                             13   and to the Debtors by the Non-Debtor Affiliates and Subsidiaries is effectively neutral. As of the
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                             14   Petition Date, the Debtors estimate that they owe approximately $500,000 on account of Non-Debtor

                             15   Shared Services.

                             16                  3.     Standard Pacific Gas Line

                             17          The Utility holds an 86% ownership interest in Standard Pacific Gas Line, Inc. (“StanPac”).

                             18   StanPac owns approximately 55 miles of natural gas pipelines located in Contra Costa County and the

                             19   greater Sacramento area. The Utility operates StanPac and regularly incurs related operating expenses

                             20   and capital costs (the “StanPac Costs”). Pursuant to that certain System Management and Operating

                             21   Agreement, dated March 28, 1996, among the Utility, StanPac, and Chevron Pipeline Company (the

                             22   “StanPac Operating Agreement”), the Utility invoices StanPac for the StanPac Costs on a monthly

                             23   basis. Under the StanPac Operating Agreement, the Utility is obligated to fund its proportional,

                             24   allocated share of certain non-capital expenses, including taxes (the “StanPac Non-Capital Costs”),

                             25   on a monthly basis or at such time that such StanPac Non-Capital Costs come due. In the ordinary

                             26   course of business, the Utility wires an amount equal to its allocated share of the previous month’s

                             27   StanPac Non-Capital Costs directly to StanPac. During the 12-month period prior to the Petition Date,

                             28   the monthly average of StanPac Non-Capital Costs that the Utility paid to StanPac was approximately

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                              1   $400,000. To maintain its pipeline connections to the intrastate and interstate natural gas pipeline grid,

                              2   it is critical that the Utility continue paying the StanPac Costs and StanPac Non-Capital Costs in the

                              3   ordinary course. As of the Petition Date, the Utility estimates that it owes approximately $400,000 on

                              4   account of StanPac Costs and Stanpac Non-Capital Costs. and that approximately $400,000 of that

                              5   amount will become due and payable within thirty (30) days after the Petition Date.

                              6                  4.     Gill Ranch Project

                              7          The Utility owns a 25% ownership interest in an underground natural gas storage facility (the

                              8   “Gill Ranch Project”) at Gill Ranch, located near Fresno, California, with a capacity of approximately

                              9   20 billion cubic feet. The other 75% of the Gill Ranch Project is owned by Gill Ranch Storage, LLC

                             10   (“Gill Ranch LLC”), the operator of the Gill Ranch Project, which, in turn, is owned by Norwest

                             11   Natural Gas. The Gill Ranch Project is linked to the Utility’s natural gas mainline transmission system,

                             12   allowing it to serve customers throughout California. Pursuant to that certain Joint Project Agreement,
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                             13   dated January 31, 2018, between Gill Ranch LLC and the Utility, and that certain Operator Agreement,
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                             14   dated January 31, 2008, between Gill Ranch LLC and the Utility (collectively, the “Gill Ranch

                             15   Agreements”), the Utility is obligated to fund its proportionate, allocated share of operating costs,

                             16   capital expenses, and certain other non-capital expenses for the Gill Ranch Project on a monthly basis

                             17   (the “Gill Ranch Costs”). To maintain access to its emergency natural gas reserves it is critical that

                             18   the Utility continue paying the Gill Ranch Costs in the ordinary course. Pursuant to the Gill Ranch

                             19   Agreements, and in the ordinary course of business, the Utility deposits an amount equal to its allocated

                             20   share of the previous month’s Gill Ranch Costs into an account maintained by the Utility and held at

                             21   BNYM (Acct. No. XX4122). The funds in such account are used by Gill Ranch LLC, as operator, to

                             22   develop, operate and manage the Gill Ranch Project in accordance with approved programs and

                             23   budgets. During the 12-month period prior to the Petition Date, the monthly average of Gill Ranch

                             24   Costs that the Utility owed in connection with the Gill Ranch Project was approximately $200,000. As

                             25   of the Petition Date, the Utility estimates that it owes approximately $200,000 on account of Gill Ranch

                             26   Costs and that approximately $200,000 of that amount will become due and payable within thirty (30)

                             27   days after the Petition Date

                             28

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                              1          E.      Joint Infrastructure and Co-Ownership Projects

                              2           In the operation of its gas delivery and power distribution business, the Utility’s infrastructure
                              3   often interfaces with third-party equipment, including various gas pipeline and electric transmission
                              4   interconnections. In some instances, certain pipelines, facilities, and transmission infrastructure are
                              5   jointly owned by the Utility and one or more third-parties (the “Joint Infrastructure Projects”) and,
                              6   in some cases, are maintained to comply with regulatory and compliance requirements. The Joint
                              7   Infrastructure Projects are typically governed by contractual arrangements between the Utility and the
                              8   applicable third-party that provide for the scope of each party’s obligations, including obligations to
                              9   operate and maintain the infrastructure, contribute capital, and/or pay for services. During the 12-
                             10   month period prior to the Petition Date, the monthly average that the Utility paid in connection with
                             11   the Joint Infrastructure Projects was de minimis and the monthly average that the Utility received in
                             12   connection with Joint Infrastructure Projects was approximately $600,000. As of the Petition Date,
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                             13   the Utility estimates that any amounts owed on account of the Joint Infrastructure Projects are de
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                             14   minimis. The Debtors seek authority to pay such amounts, including any amounts relating to the period
                             15   prior to the Petition Date, as they come due in the ordinary course of business.
                             16          F.      Short-Term Investment Policy

                             17           The Short-Term Investment Policy, a copy of which is annexed hereto as Exhibit C, provides
                             18   guidance for the Debtors to sweep excess funds in the Utility Master Concentration Account and the
                             19   PG&E Corp. Master Concentration Account on an overnight basis. The Debtors move excess funds
                             20   from those accounts to brokerage accounts held at BNYM (Acct No. XX98400 for the Utility and Acct
                             21   No. XX18400 for PG&E Corp). The amounts invested pursuant to the Short-Term Investment Policy
                             22   vary on a daily basis. Pursuant to the Short-Term Investment Policy, (i) investments are limited to
                             23   highly marketable, interest-earning securities with stable market values and maturities of 12 months or
                             24   less, and (ii) the Debtors must sufficiently assess the credit rating for parent companies of entities
                             25   issuing securities prior to investing in those securities.2 The objective of the Short-Term Investment
                             26
                                  2
                             27     In addition, B&MM invests certain funds held by the Utility in the Voluntary Disability Plan
                                  Insurance (“VPDI”) brokerage account (Acct No. XX48400 held at BNYM), which account is
                             28 maintained to comply with certain state requirements relating to employee contributions to the
                                  Debtors’ VPDI.
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                              1   Policy is to achieve the best available yield while ensuring safety and preservation of principal and

                              2   maintaining adequate liquidity to meet cash flow requirements. Investments made pursuant to the

                              3   Short-Term Investment Policy are subject to multiple internal controls which require, among other

                              4   things, that only designated employees may make investments pursuant to the Short-Term Investment

                              5   Policy, all investments must be in compliance with the Sarbanes–Oxley Act of 2002, financial

                              6   institutions must send confirmations of investment transactions directly to persons or departments

                              7   responsible for recording cash transactions, and monthly investment statements must be reconciled to

                              8   the Debtors’ general ledger accounts. Typically, the following types of investments are approved

                              9   pursuant to the Short-Term Investment Policy: (i) money market mutual funds, (ii) bank-related

                             10   securities, (iii) U.S. government and government-sponsored securities, (iv) repurchase agreements, (v)

                             11   corporate debt securities, and (vi) state and local government obligations. During the pendency of the

                             12   Chapter 11 Cases, the Debtors will limit investments to U.S. government and government-sponsored
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                             13   securities that are backed by the full faith and credit of the United States.
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                             14          G.      Bank and Payment Processing Fees

                             15          In the ordinary course of business, the Debtors incur and pay, honor, or allow to be deducted

                             16   from the appropriate Bank Accounts, certain service charges, repayments on account of ordinary course

                             17   ACH credit extensions (e.g., in connection with the Banks’ processing of refunds or mistaken payments

                             18   into Utility Depository Accounts), and other related fees, costs, and expenses charged by the Banks

                             19   (collectively, the “Bank Fees”). To the extent the balance in the applicable Bank Account decreases

                             20   below a threshold amount established by the applicable Bank, the Debtors may incur additional fees

                             21   for sending and receiving wire transfers, clearing checks, ACH transfers, and other transactions. In

                             22   addition, the Debtors pay certain payment processing fees to third parties relating to payment support

                             23   and processing for customers making payments by credit card, debit card, and ACH bank payment

                             24   (collectively, the “Payment Processing Fees”). The Debtors currently pay approximately $140,000

                             25   per month on account of Bank Fees and approximately $200,000 per month on account of Payment

                             26   Processing Fees. As of the Petition Date, the Debtors estimate that approximately $140,000 in Bank

                             27   Fees and $400,000 in Payment Processing Fees are accrued and unpaid and will become due in the

                             28   first thirty (30) days after the Petition Date. The Debtors seek authority to pay such amounts, including

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                              1   any amounts relating to the period prior to the Petition Date, as they come due in the ordinary course

                              2   of business.

                              3          H.      The Debtors’ Existing Business Forms and Checks

                              4           In the ordinary course of business, the Debtors issue checks from time to time and use a variety

                              5   of correspondence and business forms, including, but not limited to, letterhead, purchase orders, and

                              6   invoices (collectively, the “Business Forms”). To minimize the expense to the Debtors’ estates

                              7   associated with developing and/or purchasing entirely new forms or otherwise complying with

                              8   Bankruptcy Local Rule 2015-1(a),3 the delay in conducting business prior to obtaining such forms, and

                              9   the confusion of suppliers and other vendors, the Debtors seek authority to continue using their

                             10   Business Forms substantially in the forms used immediately prior to the Petition Date, without

                             11   reference therein to the Debtors’ status as “Debtor in Possession.” The Debtors do not believe that any

                             12   prejudice will be suffered by any party of this relief is granted.
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                             13   IV.    BASIS FOR RELIEF REQUESTED
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                             14           The orderly operation of the Debtors’ businesses requires the continuation of the Cash

                             15   Management System during these Chapter 11 Cases. Accordingly, the Debtors seek authority in the

                             16   ordinary course of business and consistent with the Debtors’ prepetition practices to: (a) continue

                             17   maintaining and operating the Cash Management System and to make ordinary course changes to it

                             18   consistent with prepetition practices, (b) honor certain prepetition obligations related to the Cash

                             19   Management System, (c) continue certain Intercompany Transactions with Non-Debtor Affiliates and

                             20   Subsidiaries, (d) continue to honor all obligations with respect to certain Joint Infrastructure Projects,

                             21   and (e) maintain existing Business Forms. Additionally, the Debtors seek a waiver of the requirements

                             22   of section 345(b) of the Bankruptcy Code to the extent they apply to any of the Bank Accounts.

                             23          A.      Continuation of the Cash Management System is in the Best Interests of the
                                                 Debtors and All Other Parties in Interest
                             24
                                          As set forth above, the Debtors request authority to continue using the Cash Management
                             25
                                  System in the same manner as before the Petition Date and to implement ordinary course changes to
                             26
                                  3
                             27    Bankruptcy Local Rule 2015-1(a) requires that “[T]he signature card (or if there is none, the
                                  depository agreement) for any account containing funds which are the property of a bankruptcy estate
                             28 must clearly indicate that the depositor or investor is a ‘debtor-in-possession’ or a trustee in
                                  bankruptcy.”
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                              1   the Cash Management System consistent with past practices. Such relief is appropriate under sections

                              2   363 and 105(a) of the Bankruptcy Code.

                              3          Section 363(c)(1) of the Bankruptcy Code authorizes a debtor to “use property of the estate in

                              4   the ordinary course of business without notice or a hearing.” 11 U.S.C. § 363(c)(1). The purpose of

                              5   this section is to provide a debtor with the flexibility to engage in the ordinary transactions required to

                              6   operate its business without unneeded oversight by its creditors or the court.

                              7          Meoli v. Am. Med. Serv. of San Diego, 287 B.R. 808, 817 n.3 (S.D. Cal. 2003) (stating that

                              8   363(c)(1) is designed to provide “wide-ranging management authority over the debtor”); see also In re

                              9   First Protection, Inc., 440 B.R. 821, 833 (B.A.P. 9th Cir. 2010) (a debtor may “enter into transactions,

                             10   including the sale or lease of property of the estate, in the ordinary course of business, without notice

                             11   or a hearing, and to use property of the estate in the ordinary course of business without notice or a

                             12   hearing” when the debtor’s business is being operated under sections 1107 and 1108 of the Bankruptcy
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                             13   Code); In re Roth Am., Inc., 975 F.2d 949, 952 (3d Cir. 1992) (“Section 363 is designed to strike [a]
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                             14   balance, allowing a business to continue its daily operations without excessive court or creditor

                             15   oversight and protecting secured creditors and others from dissipation of the estate’s assets.”) (citations

                             16   omitted). Included within the purview of section 363(c) of the Bankruptcy Code is a debtor’s ability

                             17   to continue “routine transactions” necessitated by a debtor’s cash management system. See, e.g., In re

                             18   OccMeds Billing Servs., Inc., Case No. 07-28444, 2008 WL 73690, at *3 (Bankr. E.D. Cal. Jan. 3,

                             19   2008) (noting that so long as bank accounts are not a creditor’s cash collateral “the debtor does not

                             20   need the permission of the court to use them in ordinary course of its business”); In re Nellson

                             21   Nutraceutical, Inc., 369 B.R. 787, 796 (Bankr. D. Del. 2007) (noting that courts have shown a

                             22   reluctance to interfere in a debtor’s making of routine, day-to-day business decisions) (citations

                             23   omitted). Accordingly, the Debtors believe they are authorized pursuant to section 363(c)(1) of the

                             24   Bankruptcy Code to continue the collection, concentration, and disbursement of cash pursuant to their

                             25   Cash Management System as described above, including Intercompany Transactions.

                             26          The Cash Management System constitutes an ordinary-course and essential business practice

                             27   providing significant benefits to the Debtors, including the ability to control corporate funds, ensure

                             28   the maximum availability of funds when and where necessary, reduce borrowing costs and

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                              1   administrative expenses by facilitating the movement of funds, and ensure the availability of timely

                              2   and accurate account balance information consistent with prepetition practices. The use of the Cash

                              3   Management System has historically reduced the Debtors’ expenses by enabling the Debtors to use

                              4   funds in an optimal and efficient manner. Accordingly, the continued use of the Cash Management

                              5   System without interruption is vital to the Debtors’ business operations and the success of these

                              6   Chapter 11 Cases.

                              7          The Court may approve the continuation of the Cash Management System even if it is

                              8   determined to be outside of the ordinary course. Section 363(b) of the Bankruptcy Code provides, in

                              9   relevant part, that “[t]he [debtor], after notice and a hearing, may use, sell, or lease, other than in the

                             10   ordinary course of business, property of the estate.” 11 U.S.C. § 363(b)(1). Under section 363 of the

                             11   Bankruptcy Code, a court may authorize a debtor to pay certain prepetition claims where a sound

                             12   business purposes exists for doing so. See In re Ionosphere Clubs, Inc., 98 B.R. 174, 175 (Bankr.
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                             13   S.D.N.Y. 1989). The business judgment rule is satisfied where “the directors of a corporation acted
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                             14   on an informed basis, in good faith and in the honest belief that the action taken was in the best interests

                             15   of the company.” See, e.g., Official Comm. of Subordinated Bondholders v. Integrated Res., Inc. (In

                             16   re Integrated Res., Inc.), 147 B.R. 650, 656 (S.D.N.Y. 1992) (quoting Smith v. Van Gorkom, 488 A.2d

                             17   858, 872 (Del. 1985)); see also F.D.I.C. v. Castetter, 184 F.3d 1040, 1043 (9th Cir. 1999) (the business

                             18   judgment rule “requires directors to perform their duties in good faith and as an ordinarily prudent

                             19   person in a like circumstance would”). “Where the debtor articulates a reasonable basis for its business

                             20   decisions (as distinct from a decision made arbitrarily or capriciously), courts will generally not

                             21   entertain objections to the debtor’s conduct.” Comm. of Asbestos-Related Litigants v. Johns-Manville

                             22   Corp. (In re Johns-Manville Corp.), 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986). Courts construing

                             23   California corporate law have consistently declined to interfere with corporate decisions absent a

                             24   showing of bad faith, self-interest, or gross negligence, and have upheld a board’s decisions as long as

                             25   such decisions were made in good faith. Scouler & Co., LLC v. Schwartz, No. 11-CV-06377 NC, 2012

                             26   WL 1502762, at *4 (N.D. Cal. Apr. 23, 2012); Berg & Berg Enterprises, LLC v. Boyle, 178 Cal. App.

                             27   4th 1020, 1046 (2009).

                             28

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                              1          The Court may also rely on its equitable powers under section 105 of the Bankruptcy Code to

                              2   grant the relief requested in this Motion. Section 105(a) of the Bankruptcy Code empowers the Court

                              3   to “issue any order, process, or judgment that is necessary or appropriate to carry out the provisions of

                              4   this title.” 11 U.S.C. § 105(a). Accordingly, the Court may authorize the Debtors to continue to

                              5   maintain the Cash Management System (including entering into and performing under the

                              6   Intercompany Transactions), as well as to pay any prepetition amounts owed with respect thereto

                              7   because such relief is necessary for the Debtors to carry out their fiduciary duties under section 1107(a)

                              8   of the Bankruptcy Code. Under section 1107(a) of the Bankruptcy Code “the debtor in possession has

                              9   the same fiduciary duties and liabilities as a Trustee. When the debtor is a corporation, corporate

                             10   officers and directors are considered to be fiduciaries both to the corporate debtor in possession and to

                             11   the creditors.” In re Anchorage Nautical Tours, Inc., 145 B.R. 637, 643 (B.A.P. 9th Cir. 1992); see

                             12   also In re Curry & Sorensen, Inc., 57 B.R. 824, 828 (B.A.P. 9th Cir. 1986) (“[T]he debtor’s directors
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                             13   bear essentially the same fiduciary obligation to creditors and shareholders as would a trustee for a
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                             14   debtor out of possession”).

                             15          Numerous Courts have acknowledged that payment of prepetition obligations, irrespective of

                             16   statutory priorities, may be necessary to realize the objectives of the Bankruptcy Code, such as the

                             17   preservation and enhancement of the value of a debtor’s estate for the benefit of all creditors and other

                             18   stakeholders. See, e.g., Czyzewski v. Jevic Holding Corp., 137 S. Ct. 973, 985 (2017) (noting that

                             19   courts have approved distributions that are not consistent with ordinary priority rules in instances where

                             20   significant Code-related objectives, such as enabling a successful reorganization, would be served and

                             21   listing examples such as “first-day wage orders that allow payment of employees’ prepetition wages,

                             22   critical vendor orders that allow payment of essential suppliers’ prepetition invoices, and roll-ups that

                             23   allow lenders who continue financing the debtor to be paid first on their prepetition claims”);

                             24   Miltenberger v. Logansport, C&S W.R. Co., 106 U.S. 286, 312 (1882) (payment of pre-receivership

                             25   claim prior to reorganization permitted to prevent “stoppage of the continuance of [crucial] business

                             26   relations”); In re Just For Feet, Inc., 242 B.R. 821, 826 (D. Del. 1999) (allowing payment of prepetition

                             27   claim because debtor could not survive without maintaining customer relationship); In re Financial

                             28   News Network, Inc. 134 B.R. 732, 736 (Bankr. S.D.N.Y. 1991) (payment of prepetition claims allowed

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                              1   if “critical to the debtor’s reorganization”); In re NVR L.P., 147 B.R. 126, 128 (Bankr. E.D. Va. 1992)

                              2   (holding that “proponent of the payment must show substantial necessity”); In re Eagle–Picher Indus.,

                              3   Inc., 124 B.R. 1021, 1023 (Bankr. S.D. Ohio 1991) (stating that payment must be “necessary to avert

                              4   a serious threat to the chapter 11 process”).

                              5          Although there is a Ninth Circuit decision which fails to recognize the grant of authority given

                              6   by the Bankruptcy Code to elevate certain pre-petition payments over others, that case is easily

                              7   distinguishable from these Chapter 11 Cases and the relief sought herein, as the pre-petition payments

                              8   at issue there were made by the debtor without notice, hearing, or authorization from the Bankruptcy

                              9   Court. In Matter of B & W Enterprises, Inc., 713 F.2d 534, 535 (9th Cir. 1983). Furthermore, although

                             10   the B & W court noted that the “necessity of payment” doctrine was established in railroad

                             11   reorganization cases, id. at 535, numerous courts have extended the doctrine beyond the railroad

                             12   reorganization context. See, e.g., In re Structurlite Plastics Corp., 86 B.R. 922, 931 (Bankr. S.D. Ohio
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                             13   1988) (“a bankruptcy court may exercise its equity powers under § 105(a) [of the Bankruptcy Code]
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                             14   to authorize payment of prepetition claims where such payment is necessary to permit the greatest

                             15   likelihood of survival of the debtors and payment of creditors in full or at least proportionately”); In re

                             16   Gulf Air, 112 B.R. 152, 153 (Bankr. W.D. La. 1989) (finding that payment of prepetition wage and

                             17   benefit obligations was in the best interest of creditors and necessary for the successful reorganization

                             18   of the debtor and granting the debtor's motion to pay prepetition employee expenses); In re Chateaugay

                             19   Corp., 80 B.R. 279, 285 (S.D.N.Y. 1987) (finding that bankruptcy courts have the authority to

                             20   authorize the debtor to pay certain prepetition claims).

                             21          Moreover, since B & W, the Ninth Circuit has noted in other instances that certain pre-petition

                             22   payments should be authorized regardless of whether they are priority payments under the Bankruptcy

                             23   Code. See In re Adams Apple, Inc., 829 F.2d 1484, 1490 (9th Cir. 1987). In that case, in rejecting the

                             24   appellants’ argument that the cross-collateralization clause in a financing agreement violated the

                             25   “fundamental tenet of bankruptcy law that like creditors must be treated alike,” the Court of Appeals

                             26   noted that the argument was “flawed because the fundamental tenet conflicts with another fundamental

                             27

                             28

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                              1   tenet – rehabilitation of debtors, which may supersede the policy of equal treatment.” Id. The Ninth

                              2   Circuit further stated that:

                              3          [c]ases have permitted unequal treatment of pre-petition debts when necessary for
                                         rehabilitation, in such contexts as (i) pre-petition wages to key employees; (ii) hospital
                              4
                                         malpractice premiums incurred prior to filing; (iii) debts to providers of unique and
                              5          irreplaceable supplies; and (iv) peripheral benefits under labor contracts.

                              6
                                  Id.
                              7
                                          Numerous courts within the Ninth Circuit have followed the reasoning of In re Adams Apple in
                              8
                                  holding that the payment of certain pre-petition claims is not categorically barred when the payments
                              9
                                  promote the rehabilitation of the debtor. See, e.g., In re Pettit Oil Co., No. 13-47285, 2015 WL
                             10
                                  6684225, at *8 (Bankr. W.D. Wash. Oct. 22, 2015) (citing In re Adams Apple Inc. for proposition that
                             11
                                  it “is permissible to treat prepetition debts unequally when necessary for rehabilitation.”); Gordon v.
                             12
                                  Hines (In re Hines), 147 F.3d 1185, 1191 (9th Cir. 1998) (applying “essentially a doctrine of necessity”
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                             13
                                  to provide for the payment of the fees of debtor's counsel in chapter 7 cases because without this right
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                             14
                                  the “entire [chapter 7] system would suffer a massive breakdown”). Furthermore, several courts within
                             15
                                  this Circuit have granted relief substantially similar to that sought herein. See, e.g., In re Tri-Valley
                             16
                                  Learning Corporation, Case No. 16-43112-CN (Bankr. N.D. Cal. December 6, 2016) (approving
                             17
                                  maintenance of prepetition cash management system); In re Blue Earth, Inc., Case No. 16-30296-DM
                             18
                                  (Bankr. N.D. Cal. Mar. 23, 2016) (same); In re RDIO, Inc., Case No. 15-31430-DM (Bankr. N.D. Cal.
                             19
                                  Nov. 20, 2015 (same). Maintaining the existing Cash Management System and satisfying certain
                             20
                                  prepetition obligations related thereto plainly is in the best interests of the Debtors’ estates and all
                             21
                                  parties in interest, and, therefore, should be approved. As stated, if the Debtors are required to
                             22
                                  significantly alter the way in which they collect and disburse cash throughout the Cash Management
                             23
                                  System, their operations will likely experience severe disruptions, which will negatively impact the
                             24
                                  Debtors’ customers and their estates to the detriment of all parties in interest.
                             25
                                          In furtherance of the foregoing, the Debtors request that all Banks at which the Bank Accounts
                             26
                                  are maintained be authorized to continue to administer such accounts as they were maintained
                             27
                                  prepetition, without interruption, in the ordinary course of business. The Debtors also request authority
                             28
                                  to pay Bank Fees as the come due, including the prepetition Bank Fees that remain unpaid as of the
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                              1   Petition Date, estimated to be in the aggregate amount of $140,000. Payment of the Bank Fees is in

                              2   the best interests of the Debtors, their estates, and all parties in interest as it will prevent any disruption

                              3   to the Cash Management System. Moreover, because the Banks may have setoff rights with respect to

                              4   the prepetition Bank Fees, payment of the prepetition Bank Fees should not affect other parties in

                              5   interest and would merely be a matter of timing. The Banks should also be authorized to pay any and

                              6   all drafts, wires, and ACH transfers issued on the Bank Accounts for payment of any claims arising

                              7   before the Petition Date, to the extent payment of such claims are approved by an order of the

                              8   Bankruptcy Court, in each case so long as sufficient funds exist in these accounts. Similarly, the

                              9   Debtors request authority to pay all Payment Processing Fees as they come due, including the

                             10   prepetition Payment Processing Fees that remain unpaid as of the Petition Date, estimated to be in the

                             11   aggregate amount of $400,000. Payment of the Payment Processing Fees will prevent any disruption

                             12   to the Debtors’ ability to collect payments from their customers that pay utility bills via credit card,
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                             13   debit card, or ACH bank payment.
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                             14           For the foregoing reasons, continuation of the Cash Management System is necessary,

                             15   appropriate, and in the best interests of the Debtors, their estates, and all other parties in interest in

                             16   these Chapter 11 Cases and should be authorized as requested herein.

                             17          B.      Continued Performance of Intercompany Transactions Is Warranted

                             18           As described above, the Cash Management System is similar to those commonly employed by

                             19   other large corporate enterprises in which transfers between related entities are tracked as

                             20   Intercompany Transactions. At any point in time, there may be outstanding amounts due and owing

                             21   between the Debtors themselves as well as between the Debtors and their Non-Debtor Affiliates and

                             22   Subsidiaries, all of which are recorded and documented as Intercompany Transactions.

                             23           As set forth above, under section 363(c)(1) of the Bankruptcy Code, a debtor in possession

                             24   “may enter into transactions, including the sale or lease of property of the estate, in the ordinary course

                             25   of business . . . and may use property of the estate in the ordinary course of business without notice or

                             26   a hearing.” The Debtors believe that they do not require the Court’s approval to continue entering into

                             27   and performing under the Intercompany Transactions. The Debtors enter into and perform under

                             28   Intercompany Transactions “in the ordinary course of business” within the meaning of section

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                              1   363(c)(1). Furthermore, as stated above, transfers that take place pursuant to the PG&E Corp. CSA

                              2   are subject to CPUC oversight. The Intercompany Transactions between PG&E Corp. and the Utility

                              3   are integral to their ongoing operations and to providing reliable utility services to their customers. As

                              4   previously stated, the Intercompany Transactions between the Debtors and the Non-Debtor Affiliates

                              5   and Subsidiaries are relatively de minimis.

                              6          In addition, prepetition payments of amount owing with respect to StanPac, the Gill Ranch

                              7   Project, and the Joint Infrastructure Projects will assure the ongoing operation of those ventures, that

                              8   the Debtors continue to receive certain basic services on an uninterrupted basis, and allow the Debtors

                              9   to maintain their investment in such ventures. The Debtors also intend to continue making all post

                             10   Petition Date payments relating to those ventures in the ordinary course of business.

                             11          C.      Maintenance of the Debtors’ Existing Bank Accounts and Business Forms is
                                                 Warranted
                             12
                                         The UST Guidelines generally require that a chapter 11 debtor, among other things: (i) establish
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                             13
                                  debtor-in-possession accounts for all estate monies required for the payment of taxes (including payroll
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                             14
                                  taxes); (ii) close all existing bank accounts and open new debtor-in-possession accounts at banks that
                             15
                                  are designated as “authorized depositories” by the U.S. Trustee; (iii) obtain checks that bear the
                             16
                                  designation “Debtor-in-Possession”; and (iv) reference the debtor’s bankruptcy case number and type
                             17
                                  of account on each such check. These requirements are designed to establish a clear line of demarcation
                             18
                                  between prepetition and postpetition claims and payments and to help protect against a debtor’s
                             19
                                  inadvertent payment of prepetition claims by preventing banks from honoring checks drawn before the
                             20
                                  commencement of a debtor’s chapter 11 case.
                             21
                                         In these Chapter 11 Cases, strict enforcement of the UST Guidelines would severely disrupt
                             22
                                  the Debtors’ ordinary financial operations by reducing efficiencies, increasing administrative burdens,
                             23
                                  and creating unnecessary expenses. As stated, the Debtors maintain approximately 108 Bank Accounts
                             24
                                  as part of the Cash Management System. If the Debtors were required to close these Bank Accounts
                             25
                                  and open new debtor-in-possession accounts, the Debtors would be forced to reconstruct the Cash
                             26
                                  Management System in its entirety. This reconstruction would be impractical and cost prohibitive in
                             27
                                  an enterprise like the Debtors. B&MM, including accounting and bookkeeping employees, would need
                             28
                                  to focus their efforts on immediately opening new bank accounts and working to establish proper cash
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                              1   flow controls, thereby diverting them from their daily responsibilities during this critical juncture of

                              2   the Debtors’ Chapter 11 Cases. Many accounts could not be replaced in time to effectively continue

                              3   the Debtors’ businesses. Even if possible, the opening of new bank accounts would increase operating

                              4   costs, and the delays that would result from opening new accounts, revising cash management

                              5   procedures, and redirecting payments would negatively impact the Debtors’ ability to operate their

                              6   business while establishing these new arrangements, to the detriment of all parties in interest.

                              7          The Debtors believe that their transition into chapter 11 will be significantly smoother and more

                              8   orderly, with minimum disruption and harm to the Debtors’ operations, if the Bank Accounts are

                              9   continued following the Petition Date with the same account numbers. By preserving business

                             10   continuity and avoiding the disruption and delay to the Debtors’ collection and disbursement

                             11   procedures that would necessarily result from closing the Bank Accounts and opening new accounts,

                             12   all parties in interest, including employees, vendors, customers, and creditors will be best served. The
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                             13   confusion that would otherwise result, absent the relief requested herein, would ill-serve the Debtors’
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                             14   rehabilitative efforts. Accordingly, the Debtors respectfully request authority to maintain the Bank

                             15   Accounts in the ordinary course of business.

                             16          In the ordinary course of business, the Debtors conduct transactions by debit, wire, ACH, and

                             17   other similar methods. Certain of the Debtors’ customers pay the Debtors through ACH or wire

                             18   transfer, and the Debtors pay a majority of their third-party vendors and service providers through

                             19   ACH or wire transfer. Accordingly, to avoid any disruption or claims against the Debtors, the Debtors

                             20   are seeking to continue their prepetition debit, wire, and ACH practices during the Chapter 11 Cases.

                             21          Although the Debtors request that they be allowed to maintain their prepetition Bank Accounts,

                             22   the Banks at which such accounts are kept must adhere to certain guidelines. Specifically, unless

                             23   otherwise ordered by this Court, no Bank shall honor or pay any check issued on account of a

                             24   prepetition claim. The Banks may honor any checks issued on account of prepetition claims only

                             25   where this Court has specifically authorized such checks to be honored. Furthermore, the Debtors

                             26   request that the Banks be authorized to accept and honor all representations from the Debtors as to

                             27   which checks should be honored or dishonored consistent with any order(s) of this Court, whether or

                             28   not the checks are dated prior to, on, or subsequent to the Petition Date. The Banks shall not be liable

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                              1   to any party on account of following the Debtors’ instructions or representations regarding which

                              2   checks should be honored. Should any Bank honor a prepetition check, draft, wire transfer, ACH

                              3   transfer or other debit drawn on a Bank Account (a) at the direction of the Debtors to honor such

                              4   prepetition check or item, (b) in a good faith belief that the Court has authorized such prepetition item

                              5   to be honored, (c) as a result of an innocent mistake made despite the implementation of customary

                              6   item handling procedures, or (d) consistent with its past practices under the Cash Management System,

                              7   such Bank shall not be deemed to be, nor shall be, liable to the Debtors or their estates or otherwise in

                              8   violation of the Proposed Interim Order. Further, the Debtors request that the Banks shall have no

                              9   liability for any operational processing errors that are the result of human error.

                             10          To minimize expenses, the Debtors should also be permitted to maintain and continue to use

                             11   their Business Forms substantially in the forms existing immediately before the Petition Date. Strict

                             12   compliance with the UST Guidelines, which require reprinting such documents, would unnecessarily
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                             13   increase the Debtors’ expenses and would risk confusing the Debtors’ customers, suppliers, and
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                             14   employees. Accordingly, the Debtors believe it is appropriate to continue to use all Business Forms

                             15   as such forms were in existence prior to the commencement of these Chapter 11 Cases, without any

                             16   reference to the Debtors’ current status as debtors in possession.

                             17          In short, any benefits of the Debtors’ strict compliance with the UST Guidelines would be far

                             18   outweighed by the resulting expense, inefficiency, and disruption to the Debtors’ business.

                             19   Accordingly, the Debtors request authority to maintain their Bank Accounts and Business Forms

                             20   during the Chapter 11 Cases. Furthermore, the Debtors seek a waiver of the UST Guidelines to the

                             21   extent that requirements outlined therein otherwise conflict with (i) the Debtors’ existing practices

                             22   under the Cash Management System, (ii) any action taken by the Debtors in accordance with the

                             23   Proposed Interim Order, or (iii) any other order entered in these Chapter 11 Cases.

                             24          D.      Waiver of the Requirements of Section 345(b) of the Bankruptcy
                                                 Code Is Warranted
                             25

                             26          Section 345(a) of the Bankruptcy Code governs a debtor’s deposit and investment of cash

                             27   during a chapter 11 case and authorizes such deposits or investments as “will yield the maximum

                             28   reasonable net return on such money, taking into account the safety of such deposit or investment.” 11

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                              1    U.S.C. § 345(a). For deposits or investments that are not “insured or guaranteed by the United States

                              2    or by a department, agency, or instrumentality of the United States or backed by the full faith and credit

                              3    of the United States,” section 345(b) of the Bankruptcy Code requires that the debtor obtain from the

                              4    “entity with which the money is deposited or invested a bond in favor of the United States [that is]

                              5    secured by the undertaking of a[n adequate] corporate surety . . . unless the court for cause orders

                              6    otherwise. 11 U.S.C. § 345(b).4

                              7           In chapter 11 cases such as these, strict adherence to the requirements of section 345(b) of the

                              8    Bankruptcy Code would be inconsistent with the value-maximizing purpose of chapter 11 by unduly

                              9    hampering a debtor’s ability under section 345(a) to invest money such “as will yield the maximum

                             10    reasonable net return on such money.” As a result, in 1994, to avoid “needlessly handcuff[ing] larger,

                             11    more sophisticated debtors,” Congress amended section 345(b) to provide that its strict investment

                             12    requirements may be waived or modified if the court so orders “for cause.” 140 Cong. Rec. H. 10,767
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                             13    (Oct. 4, 1994). Here, the Debtors satisfy both the procedural and substantive requirements necessary
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                             14    to obtain a waiver of section 345(b) of the Bankruptcy Code.

                             15           First, as set forth above, twenty-one of the thirty Primary Bank Accounts are maintained at

                             16    banks that have been approved by the U.S. Trustee as “authorized depositories” in accordance with the

                             17    UST Guidelines. Although BNYM and RBC are not U.S. Trustee-designated authorized depositories,

                             18    BNYM is a highly rated, nationally chartered bank, and both are subject to supervision by national

                             19    banking regulators. BNYM is the world’s largest custodian bank and asset servicing company with

                             20    $1.9 trillion in assets under management and $33.3 trillion in assets under custody as of December

                             21    2017. RBC holds consolidated assets of over $832 billion, operates in 44 countries, and has been

                             22    approved as a qualifying foreign banking organization by the Federal Reserve Board, thereby

                             23    subjecting it to the same comprehensive regulatory regime that governs the operations of U.S. domestic

                             24    banking entities. To the extent that the accounts at RBC and BNYM are not in technical compliance

                             25    with the requirements of section 345, the Debtors seek to have such requirements waived so as to allow

                             26
                                   4
                             27    In the alternative, the estate may require such entity to deposit governmental securities pursuant to
                                  31 U.S.C. § 9303, which provides that when a person is required by law to give a surety bond, that
                             28 person, in lieu of a surety bond, may instead provide an eligible obligation, designated by the
                                  Secretary of the Treasury, as an acceptable substitute for a surety bond. 31 U.S.C. § 9303(a).
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                              1   BNYM and RBC to accept and hold cash in accordance with the Debtors’ prepetition practices.

                              2   Furthermore, the Short-Term Investment Policy, as modified by the Debtors, is in compliance with

                              3   section 345(b) as the modified Short-Term Investment Policy limits investments to those that are either

                              4   “insured or guaranteed by the United States or by a department, agency, or instrumentality of the United

                              5   States or backed by the full faith and credit of the United States.”

                              6          Moreover, there is cause to warrant a waiver of the requirements of section 345(b) of the

                              7   Bankruptcy Code. Courts consider the “totality of the circumstances” in determining whether “cause”

                              8   exists, with particular regard to the following factors:

                              9                          a)     The sophistication of the debtor’s business;

                             10                          b)     The size of the debtor’s business operations;

                             11                          c)     The amount of investments involved;

                             12                          d)     The bank ratings (Moody’s and Standard and Poor) of the financial
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                             13                                 institutions where debtor in possession funds are held;
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                             14                          e)     The complexity of the case;

                             15                          f)     The safeguards in place within the debtor’s own business of insuring

                             16                                 the safety of the funds;

                             17                          g)     The debtor’s ability to reorganize in the face of a failure of one or more

                             18                                 of the financial institutions;

                             19                          h)     The benefit to the debtor;

                             20                          i)     The harm, if any, to the estate; and

                             21                          j)     The reasonableness of the debtor’s request for relief from § 345(b)

                             22                                 requirements in light of the overall circumstances of the case.

                             23   In re Serv. Merch. Co., 240 B.R. 894, 896 (Bankr. M.D. Tenn. 1999).

                             24          Here, “cause” exists because, among other things: (i) all of the Banks holding significant

                             25   balances are highly rated, reputable banks that are subject to supervision by national banking

                             26   regulators; (ii) the Debtors retain the right to close accounts with the Banks and establish new bank

                             27   accounts as needed; (iii) the cost associated with satisfying the requirements of section 345(b) is

                             28   needlessly burdensome to the Debtors and their estates; and (iv) the process of satisfying such

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                              1   requirements would lead to needless inconvenience and inefficiencies in the management of the

                              2   Debtors’ business. The benefits of a waiver would far outweigh any potential harm to the estates from

                              3   noncompliance with section 345(b). The complex nature of the Debtors’ businesses requires numerous

                              4   bank accounts. Moreover, a bond secured by the undertaking of a corporate surety would be

                              5   prohibitively expensive (if such a bond could be obtained at all). Furthermore, based on its experience

                              6   opening new bank accounts, the Debtors estimate that it would take months to create a new suite of

                              7   bank accounts to service their business. The Debtors submit that the costs of disruption to the business

                              8   by having to close dozens of accounts far outweighs the risks of the Debtors continuing to maintain

                              9   their historic Bank Accounts during the administration of the Chapter 11 Cases. Accordingly, the

                             10   Court should waive the requirements of section 345(b) in these Chapter 11 Cases on a final basis.

                             11   However, if the U.S. Trustee needs additional time to consider the waiver, in the alternative, the Court

                             12   should, on an interim basis, extend the Debtors’ time to comply with the requirements of section 345(b)
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                             13   of the Bankruptcy Code for sixty (60) days while the Debtors discuss the issue with the U.S. Trustee
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                             14   and any statutory committees appointed in these Chapter 11 Cases.

                             15   V.     RESERVATION OF RIGHTS

                             16          Nothing contained herein is intended to be or shall be construed as (i) an admission as to the

                             17   validity of any claim against the Debtors, (ii) a waiver of the Debtors’ or any appropriate party in

                             18   interest’s rights to dispute any claim, or (iii) an approval or assumption of any agreement, contract,

                             19   program, policy, or lease under section 365 of the Bankruptcy Code. Likewise, if the Court grants the

                             20   relief sought herein, any payment made pursuant to the Court’s order is not intended to be and should

                             21   not be construed as an admission to the validity of any claim or a waiver of the Debtors’ rights to

                             22   dispute such claim subsequently.

                             23   VI.    IMMEDIATE ENTRY OF AN ORDER PURSUANT TO BANKRUPTCY RULE 6003

                             24          Bankruptcy Rule 6003 provides that, to the extent relief is necessary to avoid immediate and

                             25   irreparable harm, a Bankruptcy Court may issue an order granting “a motion to use, sell, lease, or

                             26   otherwise incur an obligation regarding property of the estate, including a motion to pay all or part of

                             27   a claim that arose before the filing of the petition” before twenty-one (21) days after filing of the

                             28   petition. As described herein and in the Wells Declaration, the Debtors’ business operations rely

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                              1   heavily on the Debtors’ Cash Management System, Bank Accounts, and Business Forms. Any

                              2   disruption in the continuation of these practices would severely disrupt the Debtors’ operations to the

                              3   detriment and prejudice of all parties in interest.      Accordingly, the Debtors have satisfied the

                              4   requirements for immediate entry of an order granting the relief requested herein pursuant to

                              5   Bankruptcy Rule 6003.

                              6   VII.   REQUEST FOR BANKRUPTCY RULE 6004 WAIVERS

                              7          The Debtors request a waiver of the notice requirements under Bankruptcy Rule 6004(a) and

                              8   any stay of the order granting the relief requested herein pursuant to Bankruptcy Rule 6004(h). As

                              9   explained above and in the Wells Declaration, the relief requested herein is necessary to avoid

                             10   immediate and irreparable harm to the Debtors. Accordingly, ample cause exists to justify the waiver

                             11   of the notice requirements under Bankruptcy Rule 6004(a) and the fourteen-day stay imposed by

                             12   Bankruptcy Rule 6004(h), to the extent such notice requirements and stay apply.
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                             13   VIII. NOTICE
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                             14          Notice of this Motion will be provided to (i) the Office of the United States Trustee for Region

                             15   17 (Attn: James L. Snyder, Esq. and Timothy Laffredi, Esq.); (ii) the Debtors’ fifty (50) largest

                             16   unsecured creditors on a consolidated basis; (iii) the Securities and Exchange Commission; (iv) the

                             17   Internal Revenue Service; (v) the Office of the California Attorney General; (vi) the California Public

                             18   Utilities Commission; (vii) the Nuclear Regulatory Commission; (viii) the Federal Energy Regulatory

                             19   Commission; (ix) the Office of the United States Attorney for the Northern District of California; (x)

                             20   the Banks; (xi) counsel for the agent under the Debtors’ proposed debtor in possession financing

                             21   facilities; and (xii) those persons who have formally appeared in these Chapter 11 Cases and requested

                             22   service pursuant to Bankruptcy Rule 2002. Based on the urgency of the circumstances surrounding

                             23   this Motion and the nature of the relief requested herein, the Debtors respectfully submit that no further

                             24   notice is required.

                             25          No previous request for the relief sought herein has been made by the Debtors to this or any

                             26   other court.

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                              1          WHEREFORE the Debtors respectfully request entry of an order granting the relief requested

                              2   herein and such other and further relief as the Court may deem just and appropriate.

                              3   Dated: January 29, 2019
                                                                                      WEIL, GOTSHAL & MANGES LLP
                              4

                              5                                                       KELLER & BENVENUTTI LLP

                              6
                                                                                      By: /s/ Tobias S. Keller
                              7                                                             Tobias S. Keller
                              8
                                                                                      Proposed Attorneys for Debtors
                              9                                                       and Debtors in Possession

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